Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 1 of 14

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
In re: : CASE NO.: 11-19448-AJC
MANUEL A VINENT, : CHAPTER 7

Debtor. :
/

 

MOTION TO APPROVE STIPULATION TO COMPROMISE CONTROVERSY
Any interested party who fails to file and serve a written response to this motion
within 21 days after the date of service stated in this motion shall, pursuant to

Local Rule 9013-1(D), be deemed to have consented to the entry of an order in
the form attached to this motion. Any scheduled hearing may then be canceled.

COMES NOW, SONEET R. KAPILA, (hereinafter “the Trustee”), and files this Motion
to Approve Stipulation to Compromise Controversy in the above-styled case, and states as
follows:

1. The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on
April 7, 2011.

2. Soneet R Kapila is the duly appointed Chapter 7 Trustee.

3. The Trustee discovered during the Rule 2004 Examination of the Debtor that he
had an accounts receivable in the amount of $2,130.00 which he has already turned over to the
Trustee as part of this settlement.

4. The Trustee believes that the 2005 Nissan Altima listed on Schedule B at a value
of $4,250.00 was undervalued and as part of this settlement the Debtor has already turned over

the vehicle and waived the $1,000.00 exemption on this car.
Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 2 of 14
CASE NO.: 11-19448-AJC
5. In an effort to avoid the high cost and uncertainties of litigation, the parties desire
to settle all the matters in this case and have all signed the Stipulation to Compromise
Controversy that is enclosed as Exhibit “1”.

6. As part of this settlement, the Debtor has already turned over $2,130.00 to the
Trustee. In addition, the Debtor has already turned over the 2005 Nissan Altima and waived the
$1,000.00 exemption on this car.

7. Since the Debtor has already complied with the terms of this settlement, he will
keep all the real and personal property listed on the Bankruptcy Schedules unless it was his intent
to surrender such property and with the exception of the 2005 Nissan Altima which has already
been turned over.

8. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not object to the Debtor’s claimed exemptions.

9. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not seek turnover of any other real or personal property of the Debtor.

10. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not object to the granting of a discharge to the Debtor.

11. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not pursue any of the potential preference actions that may exist in this case.

12. This Stipulation resolves all issues between the Trustee, and Debtor regarding
Debtor’s over-exempt assets, claimed exemptions and any insiders and third parties for alleged

preferential or fraudulent transfers and is a global settlement of all matters between the parties.
Case 11-19448-AJC Doc 34 Filed 09/03/11 Page 3 of 14
CASE NO.: 11-19448-AJC

13. Rule 9019(a) of the Federal Rules of Bankruptcy Procedure provides: “On
motion by the trustee and after a hearing on notice to creditors, the debtor... and to such other
entities as the court may designate, the court may approve a compromise or settlement.”

14. "[A]pproval of a settlement in a bankruptcy proceeding is within the sound
discretion of the Court, and will not be disturbed or modified on appeal unless approval or
disapproval is an abuse of discretion." Jn re Arrow Air, Inc., 85 B.R. 886, 891 (Bankr. S.D. Fla.
1988)(Cristol, J.) (citing Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602-03
(Sth Cir. 1980); Anaconda-Ericsson, Inc. v. Hessen (In re Teltronics Servs., Inc.), 762 F.2d 185,
189 (2d Cir. 1985); In re Prudence Co., 98 F.2d 559 (2d Cir. 1938), cert. denied, 306 U.S. 636
(1939). The test is whether the proposed settlement "falls below the ‘lowest point in the range of
reasonableness." Arrow Air, 85 B.R. at 891 (quoting Teltronics Servs., 762 F.2d at 189; Cosoff
v. Rodman (In re W. T. Grant Co.), 699 F.2d 599, 608 (2d Cir.), cert. denied, 464 U.S. 822
(1983).

15. Based on the specific facts and circumstances of this case, the Trustee has
determined that $2,130.00 and the turnover of the 2005 Nissan Altima would be a reasonable
settlement amount in this case. The Trustee respectfully submits that application of these
principles leads to the conclusion that the Stipulation, enclosed as Exhibit “1”, should be
approved with the Court retaining jurisdiction to enforce the terms of the settlement.

16. Pursuant to Local Rule 9013-1(D), a copy of the proposed Order is attached

hereto as Exhibit 2.
Case 11-19448-AJC Doc 34 Filed 09/03/11 Page 4 of 14
CASE NO.: 11-19448-AJC

WHEREFORE, the Trustee respectfully requests the entry of an Order (a) granting this
motion; (b) approving the stipulation to compromise controversy with the Debtor; (c) granting
such other and further relief as this Court deems appropriate.

Respectfully submitted this 3 day of September, 2011.

ROBERT A. ANGUEIRA, P.A.
6495 SW 24" Street

Miami, FL 33155

Tel. (305) 263-3328

Fax (305) 263-6335

e-mail: rangueir@bellsouth.net

ROBERT A. ANGUEIB
Florida Bar No. 0833241

  
  

 
    

  
Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 5of 14

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
In re: : CASE NO.: 11-19448-AJC
MANUEL A VINENT, : CHAPTER 7

Debtor. :
/

 

STIPULATION TO COMPROMISE CONTROVERSY

This Stipulation is entered into between Soneet R. Kapila (“the Trustee”), and Manuel A
Vinent (“the Debtor”), on this 22" day of August, 2011.

WHEREAS, the Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy
Code on April 7, 2011;

WHEREAS, Soneet R. Kapila is the duly appointed Chapter 7 Trustee;

WHEREAS, the Trustee discovered during the Rule 2004 Examination of the Debtor that
he had an accounts receivable in the amount of $2,130.00 which he has already turned over to
the Trustee as part of this settlement;

WHEREAS, the Trustee believes that the 2005 Nissan Altima listed on Schedule B at a
value of $4,250.00 was undervalued and as part of this settlement the Debtor has already turned
over the vehicle and waived the $1,000.00 exemption on this car;

WHEREAS, the Debtor admits to the allegations noted above;

WHEREAS, in an effort to avoid the high cost and uncertainties of litigation, the parties
desire to settle all the matters in this case; and

WHEREAS, the parties desire to set forth herein the terms and conditions of their

settlement;

 
Case 11-19448-AJC Doc 34 Filed 09/03/11 Page 6 of 14
CASE NO.: 11-19448-AJC
NOW, THEREFORE, in consideration of the mutual promises of the parties contained
herein, and other good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged by the parties, the parties agree to the following:

1. The aforementioned recitals are true and correct.

2. As part of this settlement, the Debtor has already turned over $2,130.00 to the
Trustee. In addition, the Debtor has already turned over the 2005 Nissan Altima and waived the
$1,000.00 exemption on this car.

3. Since the Debtor has already complied with the terms of this settlement, he will
keep all the real and personal property listed on the Bankruptcy Schedules unless it was his intent
to surrender such property and with the exception of the 2005 Nissan Altima which has already
been turned over.

4. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not object to the Debtor’s claimed exemptions.

5. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not seek turnover of any other real or personal property of the Debtor.

6. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not object to the granting of a discharge to the Debtor.

7. Since the Debtor has already complied with the terms of this settlement, the
Trustee will not pursue any of the potential preference actions that may exist in this case.

8. This Stipulation resolves all issues between the Trustee, and Debtor regarding
Debtor’s over-exempt assets, claimed exemptions and any insiders and third parties for alleged
preferential or fraudulent transfers and is a global settlement of all matters between the parties.

9. The Trustee has accepted this settlement subject to this Court’s approval.
Case 11-19448-AJC Doc 34 Filed 09/03/11 Page 7 of 14

CASE NG.: 11-19448-AJC

10. All parties are represented by counsel] or have the opportunity to be represented
by counsel and all parties have had an opportunity to seek advice from counsel prior to executing
this stipulation.

ll. Time js of the essence as to all deadlines within this stipulation.

12. This agreement represents the full and complete understanding of the parties.

13. The Trustee believes that this agreement is in the best interest of the estate.

14. This agreement may be signed in counterparts.

15. The Bankruptey Court will retain jurisdiction to enforce the terms of this

ble C-AY-//

séttlement.

 

 

MANUEL A. VINENT DATE
SONEET R. KAPILA DATE

‘
tn
10.

Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 8 of 14

CASE NO.: 11-19448-AJC

All parties are represented by counsel or have the opportunity to be represented

by counsel and all parties have had an opportunity to seek advice from counsel prior to executing

this stipulation.

11.

12.

13.

14.

15.

settlement.

Time is of the essence as to all deadlines within this stipulation.

This agreement represents the full and complete understanding of the parties.
The Trustee believes that this agreement is in the best interest of the estate.
This agreement may be signed in counterparts.

The Bankruptcy Court will retain jurisdiction to enforce the terms of this

 

MANUEL A. VINENT DATE
—Sornarkqagdhs 3|22/),

 

SONEET R. KAPILA ~ | IDATE

too
Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 9 of 14

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
In re: : CASE NO.: 11-19448-AJC
MANUEL A VINENT, CHAPTER 7

Debtor. :
/

 

ORDER GRANTING TRUSTEE’S MOTION TO APPROVE
STIPULATION TO COMPROMISE CONTROVERSY

THIS MATTER came to the Court on the Chapter 7 Trustee’s Motion to Approve

Stipulation to Compromise Controversy (C.P. #xx) (hereinafter “the Motion”), on notice to all

interested parties and creditors, pursuant to the Federal Rules of Bankruptcy Procedure and the

Local Rules of this Court (on Negative Notice), and the Court, having reviewed the file, the

Motion and the Trustee’s counsel’s Certificate Of No Response, good cause having been shown,

and being otherwise duly advised in the premises, does hereby
ORDERED AND ADJUDGED that:

1. The Motion is GRANTED and the settlement is APPROVED.

 
Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 10 of 14

2. As part of the settlement, the Debtor has already turned over $2,130.00 to the
Trustee. In addition, the Debtor has already turned over the 2005 Nissan Altima and waived the
$1,000.00 exemption on this car.

3. Since the Debtor has already complied with the terms of this settlement, he will
keep all the real and personal property listed on the Bankruptcy Schedules unless it was his intent
to surrender such property and with the exception of the 2005 Nissan Altima which has already
been turned over.

4. Since the Debtor has already complied with the terms of the settlement, the
Trustee will not object to the Debtor’s claimed exemptions.

5. Since the Debtor has already complied with the terms of the settlement, the
Trustee will not seek turnover of any other real or personal property of the Debtor.

6. Since the Debtor has already complied with the terms of the settlement, the
Trustee will not object to the granting of a discharge to the Debtor.

7. Since the Debtor has already complied with the terms of the settlement, the
Trustee will not pursue any of the potential preference actions that may exist in this case.

8. This settlement resolves all issues between the Trustee, and Debtor regarding
Debtor’s over-exempt assets, claimed exemptions and any insiders and third parties for alleged

preferential or fraudulent transfers and is a global settlement of all matters between the parties.
Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 11 of 14

9, The Court retains jurisdiction to enforce the terms of this settlement.
Hit
Submitted by:

ROBERT A. ANGUEIRA, P.A.
6495 SW 24" Street

Miami, FL 33155

Tel. (305) 263-3328

Fax (305) 263-6335

e-mail: rangueir@bellsouth.net

Copies furnished to:
Robert A. Angueira, Esq.

(Attorney Robert Angueira is directed to serve copies of this Order upon the Debtor, Debtor’s attorney, Trustee,
U.S. Trustee and all parties who have requested notice, and to file a Certificate of Service with the Court confirming
such service.)
Case 11-19448-AJC Doc 34 _ Filed 09/03/11 Page 12 of 14
CASE NO.: 11-19448-AJC

CERTIFICATE OF SERVICE
1 CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this
3" day of September, 2011, to all parties on the enclosed mailing matrix.

I CERTIFY that a true and correct copy of the foregoing was served via the Notice of

Electronic Filing on this 3 day of September, 2011, to:

e Soneet Kapila  trustee@kapilaco.com, FL68@ecfebis.com
e Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

e Robert Sanchez court@bankruptcyclinic.com, courtECFmail@gmail.com

ROBERT A. ANGUEIRA, P.A.
6495 SW 24" Street

Miami, FL 33155

Tel. (305) 263-3328

Fax (305) 263-6335

e-mail: rangueir@bellsouth.net

ROBERT A. ANG B EIRA
Florida Bar No. 0833241

  

   

By

 
Case 11-19448-AJC Doc 34 _ Filed 09/03/11

 

(p) ADVANTA
700 DRESHER RD
HORSHAM PA 19044-2206

Asset Acceptance Lle (Original Cred
Po Box 2036
Warren, MI 48090-2036

Brelysbankde
P.O. B 8803
Wilmington, DE 19899-8803

Citi
Po Box 6241
Sioux Falls, SD 57117-6241

Fst Usa Bk
Po Box 8650
Wilmington, DE 19899-8650

Esbe Nv
Po Box 5253
Carol Stream, IL 60197-5253

Main Street Acquisiton (Original Cr
2877 Paradise Rd Unit 30
Las Vegas, NV 89109-5236

eee
alae.
eae

 

Portfolio RecvryéAffil (Original cr
120 Corporate Blvd Ste 1
Norfolk, VA 23502-4962

Stampler Auctions
2801 Evans St
Hollywood, FL 33020-1119

Am Pac Bkerd
112 Main Street Po Box 350
Aumsville, OR 97325-0350

Asset Acceptance, LLC.
c/o Rodolfo J. Miro
P.O, BOX 9065

Brandon, FL 33509-9065

(p) CHASE CARD SERVICES
201 NORTH WALNUT STREET
ATTN MARK PASCALE

MAIL STOP DE1~1406
WILMINGTON DE 19801-2920

Denb Bloom
Po Box 8218
Mason, OH 45040-8218

Gemb/Ameagle
Po Box 981400
El Paso, TX 79998-1400

Hsbe/Rtg
Pob 15521
Wilmington, DE 19850-5521

Mayors Jewelers Inc
5870 North Hiatus Road
Tamarac, FL 33321-6424

Oxcollection (Original Creditor:11
135 Maxess Rd
Melville, NY 11747-3801

Sage Capital Recovery
1040 King Highway North
Cherry Hill, NU 08034-1908

Page 13 of 14

ASSET ACCEPTANCE LLC
PO BOX 2036
WARREN MI 48090-2036

Amex
Po Box 297871
Fort Lauderdale, FL 33329-7871

Barclays Bank Delaware

c/o Law Offices of Andreu Palma & Andreu
701 SW 27th Avenue

Suite 900

Miami, FL 33135-3000

Chase Mort
3415 Vision Dr
Columbus, OH 43219-6009

(p)US BANK
PO BOX 5229
CINCINNATI OH 45201-5229

Gemb/Oldnavy
Po Box 981400
El Paso, TX 79998-1400

Law Offices of Andreu, Palma & Andreu, PL
701 SW 27th Avenue

Suite 900

Miami, FL 33135-3000

Mcydsnb
9111 Duke Blvd
Mason, OH 45040-8999

PHARIA L.L.C,

C 0 WEINSTEIN AND RILEY, PS
2001 WESTERN AVENUE, STE 400
SEATTLE, WA 98121-3132

Sears/Cbsd
8725 W Sahara Ave
The Lakes, NV 89163-0001
(p) WACHOVIA BANK NA
PO BOX 13765
ROANOKE VA 24037-3765

WEn/Wbm
3480 Stateview Blvd Bldg
Fort Mill, SC 29715-7203

Manuel A. Vinent
3821 SW 138th Court
Miami, FL 33175-6482

Case 11-19448-AJC Doc 34 _ Filed 09/03/11

WE/Wb
Po Box 3117
Winston Salem, NC 27102-3117

Wood Law (Original Creditor:11 Dire
11778 § Election D
Draper, UT 84020

 

Page 14 of 14

Witnatbank
Po Box 94498
Las Vegas, NV 89193-4498

World Omni F
1769 Paragon Drive
Memphis, TN 38132-1705

Carre

 

 

Advanta Bank Corp
Po Box 844
Spring House, PA 19477

Wachovia Bank, N.A.
P.O. BOX 13327
Roanoke, VA 24040-0001

Chase Bank Usa, Na
Po Box 9180
Pleasanton, CA 94566

Elan Financial Service
Po Box 790084
Saint Louis, MO 63179

 
